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                                   6                                 UNITED STATES DISTRICT COURT

                                   7
                                                                 NORTHERN DISTRICT OF CALIFORNIA
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                                  10   URSULA FREITAS and JAMIE
                                       POSTPICHAL,
                                  11                                                          No. C 19-7270 WHA
                                                       Plaintiffs,
                                  12
Northern District of California
 United States District Court




                                                v.
                                  13
                                                                                              ORDER RE STIPULATION TO
                                       CRICKET WIRELESS, LLC,                                 EXTEND DEADLINES AND
                                  14
                                                                                              HEARING DATE
                                                       Defendant.
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                                             In this RICO action, the parties filed a stipulation to extend the opposition deadline, reply
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                                       deadline, and hearing date regarding defendant’s motion to compel arbitration at Docket
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                                       Number 348.
                                  19
                                             The parties filed the stipulation pursuant to Local Rule 6-1(a), which allows parties to
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                                       stipulate in writing, “without a Court order . . . to enlarge or shorten the time in matters not
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                                       required to be filed or lodged with the Court, provided the change will not alter the date of any
                                  22
                                       event or any deadline already fixed by Court order” (emphasis added). But, here, a hearing has
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                                       already been scheduled for February 24, 2022, regarding defendant’s motion to compel
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                                       arbitration. A briefing schedule has also already been set.
                                  25
                                             Thus, a court order is necessary to extend the deadlines and hearing date pursuant to
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                                       Local Rule 6-1(b). Further, a stipulated request to modify deadlines and events must comply
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                                       with Local Rule 6-2, which requires the parties to file a supporting declaration. Here, such a
                                  28
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                                   1   stipulated request, declaration, and a proposed order must be filed at least fourteen days prior

                                   2   to the scheduled hearing date pursuant to Local Rule 6-1(b).

                                   3        For the foregoing reasons, the parties shall review the Local Rules and refile a compliant

                                   4   stipulated request, supporting declaration, and proposed order.

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                                   6        IT IS SO ORDERED.

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                                   8   Dated: January 21, 2022.

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                                                                                               WILLIAM ALSUP
                                  11                                                           SENIOR UNITED STATES DISTRICT JUDGE
                                  12
Northern District of California
 United States District Court




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